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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-18-00422-001-PHX-DJH
10                 Plaintiff,                         AMENDED JUDGMENT OF
                                                      ACQUITTAL
11   v.
12   Michael Lacey,
13                 Defendant.
14
15          IT IS ORDERED that the Defendant is now entitled to be discharged for the
16   reason that the jury has returned its verdict, finding the Defendant not guilty as to Count

17   63.
18          IT IS FURTHER ORDERED that pursuant to the Court’s Orders filed April 23,

19   2024 and April 26, 2024, the Defendant is hereby discharged as to Counts 19-51, 69-70,

20   81, 83-84, 86, 88-92 and 94-99 of the Superseding Indictment.
21          IT IS FURTHER ORDERED and ADJUDGED that the Defendant is hereby
22   acquitted and discharged as to these counts only pursuant to Rule 32(k), Federal Rules of

23   Criminal Procedure.

24          Dated this 26th day of April, 2024.

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27                                                Honorable Diane J. Humetewa
                                                  United States District Judge
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